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            EXHIBIT 10
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF NEW YORK


   MARVEL CHARACTERS, INC.,

                           Plaintiff,                  Civil Action No. 1:21-cv-5316-DG-TAM

          v.                                           FIRST SUPPLEMENTAL
                                                       COMPLAINT FOR
   NANCI SOLO and ERIK COLAN,                          DECLARATORY RELIEF

                           Defendants.

   NANCI SOLO and ERIK COLAN,

                           Counterclaimants,

          v.

   MARVEL CHARACTERS, INC. and DOES
   1-10, inclusive,

                  Counterclaim-Defendants.


         Pursuant to Federal Procedure Rule 15(d), plaintiff Marvel Characters, Inc. (“MCI”)

  submits this First Supplemental Complaint, which alleges facts occurring after the original

  complaint was filed and makes claims against the above-named defendants that could not have

  been pleaded earlier.

                                         INTRODUCTION

         1.      This First Supplemental Complaint incorporates by reference the allegations in

  paragraphs 1 through 30 of the Complaint, ECF No. 1.

         2.      Since MCI filed the initial Complaint, defendants Nanci Solo and Erik Colan,

  acting as the heirs of Gene Colan, have served an additional termination notice in an invalid

  attempt to acquire rights to other intellectual property in a comic book story published by MCI or

  its predecessors (collectively, “Marvel”) in 1968.
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          3.     This termination notice is no more proper than those addressed in the initial

  Complaint. Marvel had the right to exercise creative control over Gene Colan’s contributions

  and paid him a per-page rate for his work. When Gene Colan worked for Marvel, he did so with

  the expectation that Marvel would pay him. And Gene Colan never held the copyright in the

  famous Marvel characters and comic book story at issue in the most recent termination notice;

  rather, Marvel does, as evidenced by the relevant copyright registration notice itself. Marvel

  thus brings this declaratory relief action, pursuant to 28 U.S.C. § 2201, in response to

  defendants’ improper attempt to acquire Marvel’s intellectual property.

                           ADDITIONAL FACTUAL ALLEGATIONS

          4.     At all relevant times, Gene Colan was engaged as a comic book artist by Marvel

  in New York, New York to contribute to the comic book story at issue in the most recent

  termination notice (the “Work”).

          5.     Any contributions Gene Colan made were at Marvel’s instance and expense.

          6.     Marvel editorial staff had the right to exercise creative control over Gene Colan’s

  contributions, and Marvel paid Gene Colan a per-page rate for his contributions. When Gene

  Colan worked for Marvel, he did so with the expectation that Marvel would pay him.

          7.     Gene Colan did not obtain any ownership interest in or to any contributions he

  made.

          8.     Marvel registered a copyright in and to the Work, which is copyrightable subject

  matter under the copyright laws of the United States. The Register of Copyrights recorded the

  registration, as set forth in Exhibit 1 to this complaint. Marvel has complied in all relevant

  respects with all laws governing copyright.

          9.     On approximately September 29, 2021, defendants served a notice of termination



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  on Marvel. Defendants claim to have a sufficient interest in the Work to exercise purported

  rights of termination under the termination provisions of the Copyright Act, 17 U.S.C. § 304(c),

  and the regulations thereunder.

          10.     The notices specifically seek to “terminate all pre-January 1, 1978 exclusive or

  non-exclusive grants of the transfer or license of the renewal copyright(s) in and to” certain

  “illustrated comic book stor[ies]” that were allegedly “authored or co-authored” by Gene Colan

  and published by Marvel in 1968. The notices specify an effective termination date of October

  16, 2024.

          11.     The comic book title identified in the notice is Marvel Super-Heroes. The notice

  purportedly terminates an alleged grant of copyright interests in all characters, story elements,

  and “indicia” in the comic books, as well as “all material” allegedly “authored or co-authored by

  Eugene J. Colan (in any and all medium(s), whenever created) that was reasonably associated

  with” these works and “registered with the United States Copyright Office and/or published

  within the termination time window, as defined by 17 U.S.C. § 304(c), and the” purported

  “effective date of this Notice of Termination.”

          12.     A true and correct copy of the notice is attached hereto as Exhibit 2.

                       COUNT I: ACTION FOR DECLARATORY RELIEF
                               [As to the Validity of All Notices]

          13.     Marvel repeats and realleges each allegation contained in paragraphs 1 through 12

  of this complaint as if fully set forth herein.

          14.     Defendants have served Marvel with the termination notice described above. On

  information and belief, they submitted the notice for recordation with the U.S. Copyright Office.

          15.     The notice is invalid as a matter of law because the Work was created as work

  made for hire, and there are no termination rights for works made for hire. See 17 U.S.C.


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  § 304(c).

         16.       The Work was made for hire because it was created at Marvel’s instance and

  expense.

         17.       Any contributions Gene Colan made to the Work were done at the instance of

  Marvel’s editorial staff, who had the right to exercise creative control over Gene Colan’s

  contributions.

         18.       Any contributions Gene Colan made to the Work were done at Marvel’s expense

  because Marvel paid Gene Colan a per-page rate for his contributions, Gene Colan made those

  contributions to the Work with the expectation that Marvel would pay him, and Gene Colan did

  not obtain any ownership interest in or to his contributions.

         19.       Marvel has a real and reasonable apprehension of litigation over any claim by

  defendants that Marvel’s exploitation of the Work after the alleged termination dates infringes

  their purported rights.

         20.       There now exists between the parties an actual and justiciable controversy

  concerning the validity of the termination notices and the respective rights of Marvel, on the one

  hand, and defendants, on the other.

         21.       A declaration is necessary and appropriate at this time in light of the purported

  effective termination dates and the ongoing exploitation of the Work and the development of

  new works derivative of the Work.

         22.       Marvel has no adequate remedy at law.

         23.       Accordingly, Marvel seeks, pursuant to 28 U.S.C. § 2201, a judgment from this

  Court that the notices are invalid and therefore that Marvel will not lose its copyright interest in

  the Work on the alleged termination dates.



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                                     PRAYER FOR RELIEF

         WHEREFORE, Marvel prays for a judgment against defendants Nanci Solo and Erik

  Colan as follows:

         A.     For a declaration that the termination notices are invalid;

         B.     For Marvel’s attorneys’ fees and costs incurred; and

         C.     For such other and further relief as the Court deems just and equitable.




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         Dated: April 1, 2022             Respectfully Submitted,

                                          O’MELVENY & MYERS LLP


                                          By: /s/ Molly M. Lens
                                          Molly M. Lens

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                                          * Admitted pro hac vice

                                          Attorneys for Plaintiff Marvel Characters,
                                          Inc.




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                                  NOTICE OF TERMINATION
                                                                                           OCT Q4 2021
                               "GUARDIANS OF THE GALAXY"
                                                                                         Al.AH BRAVERMAN


   To : Marvel Entertainment, LLC                          Marvel Studios, LLC
           Marvel Worldwide, Inc.                          MVL Rights, LLC
           Marvel Property, Inc .                          MVL Development, LLC
    .-,.,, Marvel Characters, Inc.                         Marvel Characters, Inc.
           1290 Avenue of the Americas                     500 South Buena Vista Street
           New York, NY 10104                              Burbank, CA 91521
           Attn: John Turitzin, Chief Counsel              Attn: David Galluzzi, Chief Counsel
                 Eli Bard, Deputy Chief Counsel

         The Walt Disney Company
         500 South Buena Vista Street
         Burbank, CA 91521
         Attn: Alan Braverman, General Counsel



         PLEASE TAKE NOTICE that pursuant to Section 304(c) of the United States Copyright

  Act ( 17 U.S .C. § 304(c)) and the regulations issued thereunder by the Register of Copyrights, 37

  C.F.R. § 201.10, Nanci Solo and Erik Colan, the children of the deceased author Eugene J. Colan,

  being the persons entitled to terminate copyright transfers by the author pursuant to said statutory

  provi ions, hereby terminate all pre-January 1, 1978 exclusive or non-exclusive grants of the

  transfer or license of the renewal copyright(s) in and to the illustrated comic book story entitled

  "Earth Shall Overcome! " (which story contains the first appearances of the characters Charlie-27

  Major Vance Astra, Martinex T'Naga, and Yondu Udonta - collectively the "Guardians of the

  Galaxy"), co-authored by Eugene J. Colan (a.k.a. Gene Colan), and published in Marvel Super-

  Heroes, Vol. 1, No. 18, and set forth in connection therewith the following:

          1.     The names and addresses of the grantees and/or successors in title whose rights are

  being terminated are as follows: Marvel Entertainment, LLC, Marvel Worldwide, Inc., Marvel

  Property, Inc. , Marvel Characters, Inc. , 1290 Avenue of the Americas, New York, NY 10104;
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  Marvel Studios, LLC, MVL Rights, LLC, MVL Development, LLC, Marvel Characters, Inc ., 500

  South Buena Vista Street, Burbank, CA 91521; and The Walt Disney Company, 500 South Buena

  Vista Street, Burbank, CA 91521. Pursuant to 37 C.F.R. § 201.lO(d), service of this notice is being

  made by First Class Mail, postage pre-paid to the above grantees or successors at the addresses

  shown.

           2.      The copyrighted work (the " Work") to which this Notice of Termination applies is

  the illustrated comic book story entitled " Earth Shall Overcome! ," (which story contains the first

  appearances of the characters Charlie-27, Major Vance Astro, Martinex T'Naga, and Yondu

  Udonta- collectively, the ' Guardians of the Galaxy"), co-authored by Eugene J. Colan (a.k.a Gene

  Colan), 1 and published and embodied in Marvel Super-Heroes, Vol. 1, No . 18 (which includes this

  issue' s cover page), which issue was registered with the U.S. Copyright Office by Perfect Film &

  Chemical Corp. and Marvel Comics Group on October 15 1968 under Copyright Registration No.

  B474875 , and includes all the characters, story elements, and/or indicia appearing therein. 2

           3.      The grant(s) and/or transfer(s) to which this Notice of Termination applies was




            1 This Notice of Termination also applies to all material authored or co-authored by Eugene J. Colan

   (in any and all medium(s), whenever created) that was reasonably associated with the Work and was
   registered with the United States Copyright Office and/or published within the termination time window,
   as defined by 17 U.S.C. § 304(c), and the effective date of this Notice of Termination. This Notice of
   Termination likewise includes any character, story element, or indicia reasonably associated with the Work
   including, without limitation, the Guardians of the Galaxy, Charlie-27, Major Vance Astro, Martinex
   T'Naga, Yondu Udonta, Charlie-26, Maz, Yur, Orang the Saturnian Hound-Hawks, and Betina Marsh.
   Every reasonable effort has been made to find and list herein all such material. Nevertheless, if any such
   material has been omitted, such omission is unintentional and involuntary, and this Notice al so applies to
   each and every such omitted material.

           2  Pursuant to 37 C.F.R. § 20 I. I 0(b)(l)(iii), this Notice of Termination includes the name of at least
   one author of the Work to which this Notice of Termination applie . The listing herein of any corporation
   as copyright claimant is done per Copyright Office records, and is not to be construed as an admission that
   any given work is or was a "work made for hire," nor is anything else herein to be construed as any such
   admission. Nothing contained in this Notice of Termination shall be construed to in any way limit or waive
   any right or remedy that Nanci Solo and/or Erik Colan, may have, at law or in equity, with respect to the
   s ubj ect matter hereof, all of which is hereby expressly re erved .

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  (were) made in that (those) certain copyright assignment(s) on the back of the check(s) issued by

  Marvel Entertainment, LLC ' s ("Marvel ') predecessor company(ies) to Eugene J. Colan, with

  respect to the above-listed Work, which was (were) dated on or about the time of the publication

  of such Work, as well as any other grant(s) regarding the Work by Eugene J. Colan to Marvel ' s

  predecessor(s). 3

          4.       The effective date of termination of the Work shall be October 16, 2024.

          5.       Eugene J. Colan died on June 23 , 2011. His surviving children, Nanci Solo and Erik

  Colan, are the persons entitled to exercise the termination right pursuant to 17 U.S .C. §

  304(c)(2)(B), as to the grant(s) identified herein. This Notice has been signed by all per ons needed

  to terminate said grant(s) under 17 U.S.C. § 304(c).


   Dated: September 29, 2021                                 TOBEROFF & ASSOCIATES , P.C.



                                                             Marc Toberoff

                                                             23823 Malibu Road, Suite 50-363
                                                             Malibu, CA 90265
                                                             Tel: (310) 246-3333

                                                             As counsel for and on behalf of Nanci Solo
                                                             and Erik Colan




           3 This Notice of Tennination also applies to each and every grant or a lleged grant by Eugene J.
   Colan of rights under copyright in and to the Work that falls within the applicable termination time window
   (defined by 17 U.S.C. § 304(c) and the effective date of this Notice of Termination). Every reasonable effort
   has been made to find and list herein every such grant and/or transfer. Nevertheless, if any such grant and/or
   transfer has been omitted, such omission is unintentional and involuntary, and this Notice of Termination
   applies as we ll to each and every such omitted grant and/or transfer.
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                                   CERTIFICATE OF SERVICE

          I hereby certify that I caused a true copy of the foregoing document described as

  NOTICE OF TERMINATION: "GUARDIANS OF THE GALAXY" to be served this 29 th day

   of September, 2021 , by First Class Mail, postage prepaid, upon each of the following:

    To:   Marvel Entertainment, LLC                            Marvel Studios, LLC
          Marvel Worldwide, Inc.                               MVL Rights, LLC
          Marvel Property , Inc.                               MVL Development, LLC
          Marvel Characters, Inc.                              Marvel Characters, Inc.
          1290 Avenue of the Americas                          500 South Buena Vista Street
          New York, NY 10104                                   Burbank, CA 91521
          Attn: Jolm Turitzin, Chief Counsel                   Attn: David Galluzzi, Chief Counsel
                Eli Bard, Deputy Chief Counsel

          The Walt Disney Company
          500 South Buena Vista Street
          Burbank, CA 91521
          Attn: Alan Braverman, General Counsel



          I declare under penaJty of perjury that the foregoing is true and correct. Executed this 29 th

   day of September 2021 , at Malibu, California.




                                                     'Breck Kadaba
                                                      Toberoff & Associates, P.C.
                                                      23823 Malibu Road, Suite 50-363
                                                      Malibu, CA 90265

                                                         Counsel for Nanci Solo and Erik Colan




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